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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 01-268

LIONEL BROWN                                                        SECTION “N”

                                 ORDER AND REASONS

       Defendant Lionel Brown seeks relief pursuant to 28 U.S.C. § 2255 on a variety of grounds

essentially based on allegations of ineffective assistance of counsel. The defendant also seeks

review of his sentence, i.e. a two level firearm enhancement under the United States Sentencing

Guidelines. For the reasons stated herein, defendant’s motion is DENIED.

       Defendant Lionel Brown was the subject of a ten count indictment charging him and co-

defendants with various controlled substance offenses, including conspiracy to possess with intent

to distribute more than 50 grams of cocaine base within 1000 feet of a school, in violation of 21

U.S.C. § 841(a)(1), 846, and 860. A one count superseding bill of information was filed thereafter,

charging Brown with conspiracy to possess with intent to distribute one kilogram of cocaine

hydrochloride in violation of 21 U.S.C. § 841(a)(1) and 846. Brown entered into a plea agreement

and pled guilty to the superseding bill. Among its various provisions, the plea agreement provided

that Brown waive his right to appeal his sentence unless it exceeded the statutory maximum or


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departed upwardly from the sentencing guideline range deemed applicable by this Court. On March

20, 2002, the District Court accepted Brown’s guilty plea. A pre-sentence investigation report was

prepared thereafter, and the Court sentenced the defendant on July 10, 2002. The PSR included a

proposed two level enhancement for possession of a firearm, which was retrieved from Brown’s

bedroom at the time of his arrest, and a three level reduction for acceptance of responsibility, which

resulted in a total offense level calculation of 25. Considering Brown’s criminal history category,

which was I, the sentencing range yielded under the sentencing guidelines was 60 to 71 months.

        At sentencing, Brown objected to the firearm enhancement, which objection was overruled.

Brown was sentenced to 70 months’ incarceration, which Judgment was entered on July 11, 2002.

        Brown timely filed a Notice of Appeal on July 19, 2002. The Fifth Circuit Court of Appeals

dismissed the defendant’s appeal as frivolous, and affirmed the Judgment of the District Court on

April 24, 2003, with the mandate being issued on May 16, 2003.

                                       LAW AND ANALYSIS

        A.      Ineffective Assistance of Counsel

        The Sixth Amendment guarantees the right to effective assistance of counsel in criminal

prosecutions.1 In Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984),

the Supreme Court established a two-prong test to evaluate ineffective assistance claims. To obtain

reversal of a conviction under the Strickland standard, the defendant must prove that counsel’s




        1
          See McMann v. Richardson, 397 U.S. 759, 711 n.14 (1970) (6th Amendment right to counsel is right
to effective assistance of counsel).

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performance fell below an objective standard of reasonableness2 and that counsel’s deficient

performance prejudiced the defendant, resulting in an unreliable or fundamentally unfair outcome

in the proceeding.3 A defendant’s failure to satisfy one prong of the Strickland test negates a court’s

need to consider the other.4 In deciding whether a counsel’s performance was ineffective under

Strickland, a court must consider the totality of the circumstances.5

        Under the performance prong of Strickland, there is a “strong presumption”6 that counsel’s

strategy and tactics fall “within the wide range of reasonable professional assistance.”7 Courts have

declined to characterize counsel’s performance as ineffective assistance when counsel acted

according to the defendant’s restrictions on strategy,8 when the defendant failed to provide counsel



        2
         See Strickland, 466 U.S. at 687-88; Harris v. Day, 226 F.3d 361, 364 (5th Cir. 2000) (judicial
scrutiny of counsel’s performance must be highly deferential, given “strong presumption” that counsel’s
conduct was reasonable professional conduct).
        3
         See Strickland, 466 U.S. at 687; see also Williams v. Taylor, 529 U.S. 362, 396-99 (2000).
        4
         See 466 U.S. at 697; see, e.g., Martin v. Cain, 246 F.3d 471, 477 (5th Cir. 2001) (court need not
address Strickland’s performance prong because defendant could not show prejudice).
        5
         See 466 U.S. at 690 (court must “determine whether, in light of all the circumstances, the identified
acts or omissions were outside the wide range of reasonable professional judgment”); see also Murray v.
Carrier, 477 U.S. 478, 496 (1986) (“[T]he right to effective assistance of counsel. . . may in a particular case
be violated by even an isolated error of counsel if that error is sufficiently egregious and prejudicial.”)
        6
         In interpreting the prejudice prong, the Supreme Court has identified a narrow category of cases in
which prejudice is presumed. See Strickland, 466 U.S. at 692 (1984). The presumption applies when there
has been an “[a]ctual or constructive denial of the assistance of counsel altogether”, when counsel is burdened
by an actual conflict of interest, or when there are “various kinds of state interference with counsel’s
assistance.” See id; Cuyler v. Sullivan, 446 U.S. 335, 350 (1980). In these situations, prejudice is so likely
to occur that a case-by-case inquiry is unnecessary. The circumstances for presuming prejudice are not
present herein. See Strickland, 466 U.S. at 692; see also U.S. v. Cronic, 466 U.S. 648, 658 (1984).
        7
         Strickland, 466 U.S. 668, 689 (1984).
        8
         See, e.g., Moore v. Johnson, 194 F.3d 586, 607 (5th Cir. 1999) (counsel’s purported failure to
expend pretrial resources in an effort to unearth evidence that may have contradicted defendant’s alibi defense
was not ineffective assistance because defendant chose and insisted on alibi defense).

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with complete and accurate information,9 or when counsel refused to “assist[] the client in presenting

false evidence or otherwise violating the law.”10

        Since prejudice is not presumed, the defendant must show that counsel’s errors were

prejudicial and deprived defendant of a “fair trial, a trial whose result is reliable.”11 This burden

generally is met by showing that the outcome of the proceeding would have been different but for

counsel’s errors.12 However, in some cases, the court will inquire further to determine whether

counsel’s ineffective assistance “deprive[d] the defendant of a substantive or procedural right to

which the law entitles him.” In the context of a guilty plea, a defendant can satisfy the prejudice

prong by demonstrating that but for counsel’s deficient performance, a reasonable probability exists

that the defendant would not have pleaded guilty and would have insisted on a trial.13 Similarly, in

the context of a procedurally defaulted appeal, a defendant can satisfy the prejudice prong by




        9
         See e.g., Lackey v. Johnson, 116 F.3d 149, 152 (5th Cir. 1997) (counsel’s failure to avoid eliciting
damaging testimony from defense witness was not ineffective assistance because defendant did not inform
counsel he molested daughter).
        10
         Nix v. Whiteside, 475 U.S. 157, 166, 171 (1986) (counsel provided effective assistance by
preventing defendant from committing perjury).
        11
          Strickland, 466 U.S. at 687. Unlike the performance prong of the Strickland test, which is analyzed
at the time of trial, the prejudice prong of the Strickland test is examined under the law at the time the
ineffective assistance claim is evaluated. See Lockhart v. Fretwell, 506 U.S. 364, 367-68 (1993).
        12
          See Williams v. Taylor, 529 U.S. 362, 391-93 (2000). To prove prejudice, the defendant must
establish a “reasonable probability” that but for counsel’s unprofessional errors, the result of the proceeding
would have been different. Strickland, 466 U.S. at 692. The Court has rejected the proposition that the
defendant must prove more likely than not that the outcome would have been altered. See id.; see also
Woodford v. Viscotti, 537 U.S. 19, 22-23 (2002).
        13
         See Hill v. Lockhart, 474 U.S. 52, 59 (1985); see e.g. Daniel v. Cockrell, 283 F.3d 697, 708 (5th
Cir. 2002).

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demonstrating that there is a reasonable probability that, but for counsel’s deficient failure to consult

with defendant about an appeal, defendant would have timely appealed.14

        The record clearly demonstrates that the defendant’s claims are without merit. For instance,

Brown claims that “counsel failed to advise Petitioner of all the relevant circumstances and likely

consequences surrounding his plea.” (Memorandum in Support, p. 5) Reference is made to the

inclusion of this Court’s consideration of the firearm with regard to sentencing (see further

discussion below). Nonetheless, the record reveals that the undersigned expressly advised Brown

that other factors set forth in the presentence investigation report could and would be considered in

fashioning a sentence, pursuant to the United States Sentencing Guidelines. Brown indicated his

understanding.

        Secondly, Brown claims that counsel was ineffective for “failure to use case law when

arguing at sentencing, two level firearm enhancement.” (Memorandum in Support, p. 6) Brown

does not identify what “case law” would have carried the day in convincing this Court not to employ

a sentencing enhancement based upon the firearm. His argument that his attorney egregiously erred

is therefore without merit.

        Thirdly, Brown claims that his waiver of appellate rights was not entered into knowingly and

voluntarily. Nonetheless, the record, again, refutes Brown’s argument. See Hearing of March 20,

2002, wherein the undersigned explained to and questioned Brown about such waiver, and Brown

indicated his understanding of such waiver.




        14
          See Roe v. Flores-Ortega, 528 U.S. 470, 484 (2000).

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       Brown further claims that the District Court erred in imposing a two level firearm

enhancement under U.S.S.G. § 2D1.1(b)(1), as “the government failed to prove the temporal and

spacial connection between the firearm and the offense that is necessary to support the

enhancement”, and also that the District Court erred in overruling the defendant’s objection to such

enhancement set forth in the presentence investigation report. Defendant is wrong in claiming any

shortcoming of his counsel in making and arguing the unsuccessful objection to the two level

enhancement, as the Court appropriately considered all evidence, including that set forth in the

presentence investigation report, as it was entitled to do under the terms of the plea agreement.

       To the extent that Brown claims, overall, that he unknowingly and involuntarily waived

certain rights as a result of his counsel’s failure to properly explain and counsel him accordingly,

the record simply does not support such claims; in fact, the record clearly refutes the notion that

Brown would receive a particular sentence selected from a particular sentencing guideline, as he

now attempts to argue. Therefore, Brown has failed to show not only such error on behalf of counsel

that is outside the range of competence expected of attorneys in cases such as this, but also has failed

to show that, but for any such error or defective advice, he would not have pleaded guilty and would

have insisted on going to trial. See Hill v. Lockhart, 474 U.S. 52 (1985).

       B.       Waiver of Relief on Direct Appeal Issues

       Brown also claims that the waiver of his appellate rights, and perhaps even his right to seek

post conviction relief, was not knowing and voluntary, and thus the sentencing issue is properly

before this Court. The Fifth Circuit Court of Appeals has already found that the defendant’s waiver

of appeal in his plea agreement was valid. Moreover, under Fifth Circuit jurisprudence, an informed


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and voluntary waiver of post conviction relief, such as was made by Brown herein, is effective to

bar further consideration of such issues pursuant to § 2255. United States v. Wilkes, 20 F.3d 651,

653 (5th Cir. 1994).

                                          CONCLUSION

       The Court finds that an evidentiary hearing is not necessary to decide the issues raised by

the defendant herein, as the existing record itself clearly supports the denial of the relief sought by

the defendant. For the reasons stated herein above, the defendant’s Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. § 2255 be and is hereby DENIED.

                                     11th day of January, 2007.
       New Orleans, Louisiana, this ______




                                               _________________________________________
                                                        KURT D. ENGELHARDT
                                                       United States District Judge




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